                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )    CASE NO. 1-11-00010-2
                                                     )    JUDGE SHARP
SAUNDRA RODRIGUEZ                                    )
                                                     )

                                          ORDER


        Pending before the Court is Defendant’s Motion to Set for Change of Plea (Docket No.

174).

        The motion is GRANTED and a hearing on a plea of guilty in this matter is hereby

scheduled for Monday, April 14, 2014, at 2:30 p.m.

        It is so ORDERED.




                                                  KEVIN H. SHARP
                                                  UNITED STATES DISTRICT JUDGE




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